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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



SECURITIES AND EXCHANGE COMMISSION,

                                     Plaintiff,
                                                              C.A. No. 18-1135 ISRUE:
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ROBERT O. CARR AND                                                                    i;'t *"                 -<
KATHERINE M. HANRATTY
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                                     Defendants.
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                  JUDGMENT AS TO DEF'ENDANT ROBERT O. CARR

       The Securities and Exchange Commission having filed a Complaint and Defendant

Robert O. Carr having entered a general appearance; consented to the Court's jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment

without admitting or denying the allegations of the Complaint (except    as to   jurisdiction and

except as otherwise provided herein in paragraph IV) waived findings of fact and conclusions                        of

law; and waived any right to appeal from this Judgment:


                                                   I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the'oExchange Act") [15 U.S.C. $ 78j(b)] and Rule 10b-5

promulgated thereunder   [7 C.F.R. $ 240.10b-5], by using any means or instrumentality of
interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:
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       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,                     as   provided in

Federal Rule of   Civil Procedure 65(d)(2), the foregoing paragraph also binds the foilowing who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

oflicers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                     II.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay                          a


civil penalty in the amount of $250,628 to the Securities and Exchange Commission pursuant to

15 U.S.C. $ 78U-1. Defendant shallmake this payment        within I                   of this Final

Judgment.

       Defendant may transmit payment electronically to the Commission, which         will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

hgp*lW¡yruqç--'go"-vla_boutþffces/olhr.hlt¡.. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center


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         Accounts Receivable Branch
         6500 South MacArthur Boulevard
         Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title,     civil action number, and name of

this Court; Robert O. Carr as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

         Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commissionos counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury. Defendant shall pay post-judgment interest

on any delinquent amounts pursuant to 28 USC $ 1961.


                                                       n.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED thAt                           UPON


motion of the Commission, the Court shall determine whether it is appropriate to order that that

Defendant be prohibited from acting as an officer or director of any issuer that has a class     of

securities registered pursuant to Section 12 of the Exchange Act (15 U.S.C. $781] or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. $ 78o(d)], and,

if   so, the term of any such prohibition. In connection with the Commission's motion for a      civil

an   officer and director bar, and at any hearing held on such   a   motion: (i) Defendant will be

precluded from arguing that he did not violate the federal securities laws as alleged in the

Complaint; (ii) Defendant may not challenge the validity of this Consent or the Judgment; (iii)

solely for the purposes of such motion, the allegations of the Complaint shall be accepted as and



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deemed true by the Court; and (iv) the Court may determine the issues raised in the motion on

the basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

documentary evidence, without regard to the standards for summary judgment contained in Rule

56(c) of the Federal Rules of Civil Procedure..

                                                       IV.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

excêptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. g523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation of the federal securities

laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code,   1l U.S.C. $523(a)(19).

                                                       V.

        IT IS FURTHER O                                  AND DECREED

jurisdiction of this matter for the purposes of enforcing the terms of this Judgment


                                                       VI.

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.



Dated   /4                  20t ?
                                                      /s/Stefan R. Underhill
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                                                             STATES    TRICT JUDGE




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